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 8                   UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA
10
11    ROBERT HINDERSTEIN,                 ) Case No. CV 15-10017-DTB
                                          )
12                         Plaintiff,     )
                                          ) JUDGMENT
13                   vs.                  )
                                          )
14    ADVANCED CALL CENTER                )
      TECHNOLOGIES, et al.,               )
15                                        )
                           Defendants.    )
16                                        )
                                          )
17
18 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19     Pursuant to the Findings of Fact and Conclusions of Law filed on February 27,
20 2017,
21        IT IS ORDERED AND ADJUDGED that Judgment be entered as follows: In
22 favor of defendant on plaintiff’s claims for harassment under the Fair Debt Collection
23 Practices Act and the Rosenthal Fair Debt Collection Practices Act.
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     Case 2:15-cv-10017-DTB Document 55 Filed 02/28/17 Page 2 of 2 Page ID #:682



 1        Any motion for attorney’s fees or application to tax costs shall be filed in
 2 accordance with the Federal Rules of Civil Procedure and/or Local Rules following
 3 the entry of Judgment by the Court.
 4
 5 DATED: February 28, 2017              ______________________________
                                         DAVID T. BRISTOW
 6                                       UNITED STATES MAGISTRATE JUDGE
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